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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TENNESSEE
                                        EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
      Plaintiff,                                     )
                                                     )
vs.                                                  )                   No. 1:17-cr-10022-STA
                                                     )
ADDIE COLE,                                          )
                                                     )
      Defendant.                                     )


                                                  ORDER


         The sentencing date in this matter is currently set for November 9th, 2018 @ 11:00 a.m. before

Chief Judge S. Thomas Anderson. Pursuant to the Defendant’s Motion to Continue, the Sentencing

Hearing in the above styled matter is hereby reset to November 13th, 2018 10:00 a.m. before Chief

Judge S. Thomas Anderson; Courtroom #1, 4th Floor, US Courthouse, Jackson, Tennessee.

         The period from 11/9/18 through 11/13/18 is excludable under 18 U.S.C. § 3161(h)(8)(B)(iv)

because the ends of justice served in allowing additional time to prepare outweigh the best interests of

the public and the defendant in a speedy trial.

         Enter this the 8th day of November, 2018.



                                                          s/ S. Thomas Anderson
                                                          CHIEF JUDGE S. THOMAS ANDERSON
